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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

                                             )
 INTERCEPT PHARMACEUTICALS, INC.,            )
 et al.,                                     )
                                                 C.A. No. 20-1105-MN-JLH
                                             )
                                                  (CONSOLIDATED)
                Plaintiffs,                  )
                                             )
        v.                                   )    REDACTED - PUBLIC VERSION
                                             )
 APOTEX INC., et al.,                        )
                                             )
                Defendants.                  )

  LETTER TO THE HONORABLE JENNIFER L. HALL FROM ANNE SHEA GAZA
           IN SUPPORT OF DEFENDANTS’ MOTION FOR LEAVE
           TO AMEND THEIR ANSWERS AND COUNTERCLAIMS

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Dated: August 24, 2022
Redacted: August 31, 2022
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                                                                Respectfully,

                                                                /s/ Anne Shea Gaza

                                                                Anne Shea Gaza (No. 4093)

Enclosures (Proposed order; Exs. A1-A5; B1-B5; and C-J (highlighting added to C-J))

cc:    All Counsel of Record (via E-mail)




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